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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.___________________

MCWHINNEY HOLDING COMPANY, LLLP, a Colorado Limited Liability Limited
Partnership,
MCWHINNEY CENTERRA LIFESTYLE CENTER, LLC, a Colorado Limited Liability
Company

         Plaintiffs,
v.
G. DAN POAG,
TERRY W. McEWEN,
JOSHUA D. POAG, individually, and in his official capacity as co-trustee of the Josh
and Chloee Poag 2004-GST Exempt Trust and the Josh and Dan Poag 2004-GST
Exempt Trust,
THOMAS M. SULLIVAN, in his official capacity as co-trustee of the Josh and Chloee
Poag 2004-GST Exempt Trust, the Jeremy and Chloee Poag 2004-GST Exempt Trust,
the Mark and Chloee Poag 2004-GST Exempt Trust, the Josh and Dan Poag 2004-GST
Exempt Trust, the Jeremy and Dan Poag 2004-GST Exempt Trust, and the Mark and
Dan Poag 2004-GST Exempt Trust,
JEREMY M. POAG, in his official capacity as co-trustee of the Jeremy and Chloee Poag
2004-GST Exempt Trust and the Jeremy and Dan Poag 2004-GST Exempt Trust,
D. MARK POAG, in his official capacity as co-trustee of the Mark and Chloee Poag
2004-GST Exempt Trust and the Mark and Dan Poag 2004-GST Exempt Trust,
POAG & McEWEN LIFESTYLE CENTERS - CENTERRA, LLC, a Delaware Limited
Liability Company,
POAG & McEWEN LIFESTYLE CENTERS, LLC, a Delaware Limited Liability
Company,
POAG LIFESTYLE CENTERS, LLC, a Delaware Limited Liability Company,
POAG SHOPPING CENTERS, LLC, a Delaware Limited Liability Company,
POAG & McEWEN LIFESTYLE SHOPPING CENTERS, LLC, a Delaware Limited
Liability Company,
POAG BROTHERS, LLC, a Tennessee Limited Liability Company,
DOE INDIVIDUALS 1-10,
DOE TRUSTS 11-30,
ROE CORPORATIONS 31-60,

         Defendants.




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                          NOTICE OF REMOVAL
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         Pursuant to 28 U.S.C. § 1332, § 1441 and § 1446, Defendant Poag Shopping

Centers, LLC petitions this Court to accept the removal of this action from the District

Court, County of Larimer, State of Colorado, where the action is now pending in the
case captioned McWhinney Holding Company, LLLP, et al. v, G. Dan Poag, et al., Case

No. 2017CV30940 (the “State Action”), on the following grounds:

         1.           The Complaint and Summons issued in the State Action were served

upon National Registered Agents, Inc. as the Registered Agent of Defendant Poag

Shopping Centers, LLC (“PSC”) in Dover, Delaware on November 8, 2017.

         2.           This Notice of Removal is being filed within 30 days from Defendant

PSC’s receipt by service of the Complaint and, therefore, is timely pursuant to

28 U.S.C. § 1446(b).

         3.           Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and

orders served upon Defendant PSC are attached hereto. The Complaint is attached

hereto as Exhibit A1; the District Court Civil Summons is attached hereto as Exhibit

A2; and the Civil Case Cover Sheet is attached hereto as Exhibit A3. Copies of all

affidavits of service/returns of service filed in the State Action are attached hereto as

Exhibit B.

         4.           The Complaint alleges claims for fraudulent concealment, fraudulent

misrepresentation, breach of fiduciary duty, civil conspiracy, fraudulent transfer pursuant
to C.R.S. § 38-8-108, and declaratory relief pursuant to C.R.S. §§ 13-51-101, et seq.,

and Colo. R. Civ. P. 57.




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                                              The Plaintiffs

         5.           As alleged in the Complaint, Plaintiff McWhinney Holding Company, LLLP

is a Colorado limited liability limited partnership, and Plaintiff McWhinney Centerra

Lifestyle Center, LLC is a Colorado limited liability company.

         6.           “(T)he citizenship of an LLC for purposes of the diversity jurisdiction is the

citizenship of its members”; therefore courts must look to the citizenship of each
member of the company. See Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir.

1998); GMAC Comm'l Credit LLC v. Dillard Dept. Stores, Inc., 357 F.3d 827, 829 (8th

Cir. 2004); Johnson v. Columbia Properties Anchorage, LP 437 F.3d 894, 899 (9th Cir.

2006). If any member of a limited liability company is itself a partnership or association,

or another LLC, the court must know the citizenship of each “sub-member” as well.
V & M Star, LP v. Centimark Corp., 596 F3d 354, 356 (6th Cir. 2010).

         7.           For partnerships, citizenship for diversity purposes is determined by

examining the citizenship of all of its partners—not the location of the entity itself.
Lincoln Property Co. v. Roche, 546 U.S. 81, 84 (2005). In suits by or against a

partnership, the citizenship of all partners—general and limited—is attributed to the
partnership for diversity purposes. Carden v. Arkoma Associates, 494 U.S. 185, 195-

196 (1990).

         8.           Plaintiff McWhinney Centerra Lifestyle Center, LLC’s sole member is

McWhinney Holding Company, LLLP.

         9.           McWhinney Holding Company, LLLP is held by Troy C. McWhinney and

Chad C. McWhinney. Chad C. McWhinney’s interest in McWhinney Holding Company,

LLLP is held individually in part and in part by CCM Trust, of which Chad. C.

McWhinney is the trustee and his former spouse and children are the beneficiaries.
Troy C. McWhinney and Chad C. McWhinney, as well as Chad C. McWhinney’s former



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spouse and children, are all domiciled in and citizens of the State of Colorado.

Therefore, for purposes of diversity jurisdiction, Plaintiffs McWhinney Centerra Lifestyle

Center, LLC and McWhinney Holding Company, LLLP are each citizens of the State of

Colorado.

                                            The Defendants

a. The Individual Defendants

         10.          For diversity purposes, a person is a “citizen” of the state in which he or
she is domiciled at the time the lawsuit was filed. Middleton v. Stephenson, 749 F.3d

1197, 1200 (10th Cir. 2014). For purposes of diversity jurisdiction under 28 U.S.C. §
1332(a)(1), state citizenship is the equivalent of domicile. Crowley v. Glaze, 710 F.2d

676, 678 (10th Cir. 1983).

         11.          Plaintiffs have named three individuals as defendants—G. Dan Poag;

Joshua D. Poag; and Terry W. McEwen (the “Individual Defendants”). Joshua D. Poag

is domiciled in and a citizen of the State of Tennessee; Terry W. McEwen is domiciled in

and a citizen of the State of Utah; and G. Dan Poag is domiciled in and a citizen of the

State of Tennessee.

         12.          The Individual Defendants are therefore all diverse from Plaintiffs.

b. The Trustee Defendants

         13.          When a trustee is a party to litigation, it is the trustee's citizenship that
controls for purposes of diversity jurisdiction. Conagra Foods, Inc. v. Americold

Logistics, LLC, 776 F.3d 1175, 1181 (10th Cir. 2015), as amended (Jan. 27, 2015), cert.

granted, 136 S. Ct. 27, 192 L. Ed. 2d 997 (2015), and aff'd sub nom. Americold Realty

Tr. v. Conagra Foods, Inc., 136 S. Ct. 1012, 194 L. Ed. 2d 71 (2016). When the trust

itself is party to the litigation, the citizenship of the trust is derived from all the trust's
“members”, or beneficiaries. Id.



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         14.          Plaintiffs have named four trustees acting in their capacity for six separate

trusts as defendants, each of whom was named in his own name— Joshua D. Poag, in

his official capacity as co-trustee of the Josh and Chloee Poag 2004-GST Exempt Trust

and the Josh and Dan Poag 2004-GST Exempt Trust; Thomas M. Sullivan, in his official

capacity as co-trustee of the Josh and Chloee Poag 2004-GST Exempt Trust, the

Jeremy and Chloee Poag 2004-GST Exempt Trust, the Mark and Chloee Poag 2004-

GST Exempt Trust, the Josh and Dan Poag 2004-GST Exempt Trust, the Jeremy and

Dan Poag 2004-GST Exempt Trust, and the Mark and Dan Poag 2004-GST Exempt

Trust; Jeremy M. Poag, in his official capacity as co-trustee of the Jeremy and Chloee

Poag 2004-GST Exempt Trust and the Jeremy and Dan Poag 2004-GST Exempt Trust;

and D. Mark Poag, in his official capacity as co-trustee of the Mark and Chloee Poag

2004-GST Exempt Trust and the Mark and Dan Poag 2004-GST Exempt Trust (the

“Trustee Defendants”).            Because the Trustee Defendants are named individually as

trustees, it is the individual citizenship of each that controls for purposes of diversity

jurisdiction.

         15.          The individuals identified by Plaintiffs as the co-trustees of the various

trusts are not the correct trustees for the respective trusts. Jeremy M. Poag, D. Mark

Poag and Joshua D. Poag are each co-trustees of the Mark and Chloee Poag 2004-

GST Exempt Trust; the Josh and Chloee Poag 2004-GST Exempt Trust; the Jeremy

and Chloee Poag 2004-GST Exempt Trust; the Mark and Dan Poag 2004-GST Exempt

Trust; the Josh and Dan Poag 2004-GST Exempt Trust; and the Jeremy and Dan Poag

2004-GST Exempt Trust.

         16.          As stated in Paragraph 11, above, Joshua D. Poag is domiciled in the

State of Tennessee; therefore, he is a citizen of Tennessee and diverse from Plaintiffs.




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         17.          Jeremy M. Poag is an individual who is domiciled in the State of

Washington; therefore, he is a citizen of Washington and diverse from Plaintiffs.

         18.          D. Mark Poag is an individual who is domiciled in the State of Texas;

therefore, he is a citizen of Texas and diverse from Plaintiffs.

         19.          As of the date of the filing of the Complaint in the State Action, Thomas M.

Sullivan was not a co-trustee of any of the identified trusts. However, for purposes of

removal, Thomas M. Sullivan is an individual who is domiciled in the State of

Tennessee; therefore, he is a citizen of Tennessee and diverse from Plaintiffs.

         20.          Based on the above, each of the Trustee Defendants is diverse from

Plaintiffs.

c. The LLC Defendants

         21.          “(T)he citizenship of an LLC for purposes of the diversity jurisdiction is the

citizenship of its members”; therefore courts must look to the citizenship of each
member of the company. See Cosgrove v. Bartolotta, supra, 150 F.3d at 731. If any

member of a limited liability company is itself a partnership or association (or another
LLC), the court must know the citizenship of each “submember” as well. V & M Star, LP
v. Centimark Corp., supra, 596 F3d at 356.

         22.          Plaintiffs have named six limited liability companies as defendants—Poag

& McEwen Lifestyle Centers – Centerra, LLC; Poag & McEwen Lifestyle Centers, LLC;

Poag Lifestyle Centers, LLC; Poag Shopping Centers, LLC; Poag & McEwen Lifestyle

Shopping Centers, LLC; and Poag Brothers, LLC (the “LLC Defendants”).

         23.          Poag & McEwen Lifestyle Centers, LLC is a Delaware limited liability

company with fourteen members. The identity and citizenship for diversity purposes of

Poag & McEwen Lifestyle Centers, LLC’s members are as follows:




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         (1) Terry McEwen is an individual who is domiciled in and a citizen of the State of

Utah;

         (2) Josh and Chloee Poag 2004 GST-Exempt Trust is a Tennessee trust whose

co-trustees are D. Mark Poag, an individual who is domiciled in and a citizen of the

State of Texas; Joshua D. Poag, an individual who is domiciled in and a citizen of the

State of Tennessee; and Jeremy M. Poag, an individual who is domiciled in and a

citizen of the State of Washington. The beneficiaries of the Josh and Chloee Poag 2004

GST-Exempt Trust are Chloee Poag, Jr., Joshua D. Poag, and Joshua D. Poag’s issue,

each of whom is domiciled in and a citizen of the State of Tennessee.

         (3) Jeremy and Chloee Poag 2004 GST-Exempt Trust is a Tennessee trust

whose co-trustees are D. Mark Poag, an individual who is domiciled in and a citizen of

the State of Texas; Joshua D. Poag, an individual who is domiciled in and a citizen of

the State of Tennessee; and Jeremy M. Poag, an individual who is domiciled in and a

citizen of the State of Washington. The beneficiaries of the Jeremy and Chloee Poag

2004 GST-Exempt Trust are Chloee Poag, Jeremy M. Poag, and Jeremy M. Poag’s

issue. Chloee Poag is domiciled in and a citizen of the State of Tennessee; Jeremy M.

Poag is domiciled in and a citizen of the State of Washington; and Jeremy M. Poag

does not have children.

         (4) Mark and Chloee Poag 2004 GST-Exempt Trust is a Tennessee trust whose

co-trustees are D. Mark Poag, an individual who is domiciled in and a citizen of the

State of Texas; Joshua D. Poag, an individual who is domiciled in and a citizen of the

State of Tennessee; and Jeremy M. Poag, an individual who is domiciled in and a

citizen of the State of Washington. The beneficiaries of the Mark and Chloee Poag 2004

GST-Exempt Trust are Chloee Poag, Jr., D. Mark Poag, and D. Mark Poag’s issue.




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Chloee Poag is domiciled in and a citizen of the State of Tennessee; and D. Mark Poag

and his children are domiciled in and are citizens of the State of Texas.

         (5) Josh and Dan Poag 2004 GST-Exempt Trust is a Tennessee trust whose co-

trustees are D. Mark Poag, an individual who is domiciled in and a citizen of the State of

Texas; Joshua D. Poag, an individual who is domiciled in and a citizen of the State of

Tennessee; and Jeremy M. Poag, an individual who is domiciled in and a citizen of the

State of Washington. The beneficiaries of the Josh and Dan Poag 2004 GST-Exempt

Trust are G. Dan Poag, Jr., Joshua D. Poag, and Joshua D. Poag’s issue, each of

whom is domiciled in and a citizen of the State of Tennessee.

         (6) Jeremy and Dan Poag 2004 GST-Exempt Trust is a Tennessee trust whose

co-trustees are D. Mark Poag, an individual who is domiciled in and a citizen of the

State of Texas; Joshua D. Poag, an individual who is domiciled in and a citizen of the

State of Tennessee; and Jeremy M. Poag, an individual who is domiciled in and a

citizen of the State of Washington. The beneficiaries of the Jeremy and Dan Poag 2004

GST-Exempt Trust are G. Dan Poag, Jr., Jeremy M. Poag, and Jeremy M. Poag’s

issue. G. Dan Poag, Jr. is domiciled in and a citizen of the State of Tennessee; Jeremy

M. Poag is domiciled in and a citizen of the State of Washington; and Jeremy M. Poag

does not have children.

         (7) Mark and Dan Poag 2004 GST-Exempt Trust is a Tennessee trust whose co-

trustees are D. Mark Poag, an individual who is domiciled in and a citizen of the State of

Texas; Joshua D. Poag, an individual who is domiciled in and a citizen of the State of

Tennessee; and Jeremy M. Poag, an individual who is domiciled in and a citizen of the

State of Washington. The beneficiaries of the Mark and Dan Poag 2004 GST-Exempt

Trust are G. Dan Poag, Jr., D. Mark Poag, and D. Mark Poag’s issue. G. Dan Poag, Jr.




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is domiciled in and a citizen of the State of Tennesse; and D. Mark Poag and his

children are domiciled in and are citizens of the State of Texas.

         (8) G. Dan Poag Jr. is an individual who is domiciled in and a citizen of the State

of Tennessee;

         (9) Chloee Poag is an individual who is domiciled in and a citizen of the State of

Tennessee;

         (10) Poag Brothers, LLC is a Tennessee limited liability company with three

members—Joshua D. Poag, an individual who is domiciled in and a citizen of the State

of Tennesse; Jeremy Poag, an individual who is domiciled in and a citizen of the State

of Washington; and D. Mark Poag, an individual who is domiciled in and a citizen of the

State of Texas;

         (11) Joshua D. Poag is an individual who is domiciled in and a citizen of the State

of Tennessee;

         (12) W.V. Moll is an individual who is domiciled in and a citizen of the State of

Tennessee;

         (13) Mark Grambergs is an individual who is domiciled in and a citizen of the

State of Tennessee;

         (14) Edward Cronin is an individual who is domiciled in and a citizen of the State

of Ohio.

Therefore, for purposes of diversity jurisdiction, Poag & McEwen Lifestyle Centers, LLC

is a citizen of Utah, Tennessee, Washington, Texas, and Ohio; therefore, Poag &

McEwen Lifestyle Centers, LLC is diverse from Plaintiffs.

         24.          Poag Shopping Centers, LLC is a Delaware limited liability company with

seven members. The identity and citizenship for diversity purposes of Poag Shopping
Centers, LLC’s members are as follows:



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         (1) Joshua D. Poag and Amy Poag are individuals who are domiciled in and

citizens of the State of Tennessee;

         (2) Poag Family Special Investment I, LLC is a Delaware limited liability company

with 2 members, Joshua D. Poag and Amy Poag, individuals who are domiciled in and

citizens of the State of Tennessee;

         (3) David Selberg is an individual who is domiciled in and a citizen of the State of

Tennessee;

         (4) Robert L. Rogers, Jr. and Mary Donna Rogers are individuals who are

domiciled in and citizens of the State of Tennessee;

         (5) Brian Smith is an individual who is domiciled in and a citizen of the State of

Tennessee;

         (6) Alesia Kempe is an individual who is domiciled in and a citizen of the State of

Texas;

         (7) Jeremy M. Poag is an individual who is domiciled in and a citizen of the State

of Washington.

Therefore, for purposes of diversity jurisdiction, Poag Shopping Centers, LLC is a

citizen of Tennessee, Texas, and Washington; therefore, Poag Shopping Centers, LLC

is diverse from Plaintiffs.

         25.          Poag Lifestyle Centers, LLC is a Delaware limited liability company with

nine members. The identity and citizenship for diversity purposes of Poag Lifestyle

Centers, LLC’s members are as follows:

         (1) Joshua D. Poag and Amy Poag are individuals who are domiciled in and are

citizens of the State of Tennessee;

         (2) Joshua D. Poag is an individual who is domiciled in and a citizen of the State
of Tennessee;



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         (3) Poag Family Special Investment I, LLC is a Delaware limited liability company

with two members, Joshua D. Poag and Amy Poag, individuals who are domiciled in

and citizens of the State of Tennessee;

         (4) David Selberg is an individual who is domiciled in and a citizen of the State of

Tennessee;

         (5) Robert L. Rogers, Jr. is an individual who is domiciled in and a citizen of the

State of Tennessee;

         (6) Brian Smith is an individual who is domiciled in and a citizen of the State of

Tennessee;

         (7) Alesia Kempe is an individual who is domiciled in and a citizen of the State of

Texas;

         (8) Jeremy M. Poag is an individual who is domiciled in and a citizen of the State

of Washington;

         (9) Tim Thompson is an individual who is domiciled in and a citizen of the State

of Tennessee.

Therefore, for purposes of diversity jurisdiction, Poag Lifestyle Centers, LLC is a citizen

of Tennessee, Texas, and Washington; therefore, Poag Lifestyle Centers, LLC is

diverse from Plaintiffs.

         26.          Poag Brothers, LLC is a Tennessee limited liability company with three

members. The identity and citizenship for diversity purposes of Poag Brothers, LLC’s

members are as follows:

         (1) Joshua D. Poag is an individual who is domiciled in and a citizen of the State

of Tennessee;

         (2) Jeremy M. Poag is an individual who is domiciled in and a citizen of the State
of Washington;



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         (3) D. Mark Poag is an individual who is domiciled in and a citizen of the State of

Texas.

Therefore, for purposes of diversity jurisdiction, Poag Brothers, LLC is a citizen of

Tennessee, Washington, and Texas; therefore, Poag Brothers, LLC is diverse from

Plaintiffs.

         27.          Poag & McEwen Lifestyle Centers – Centerra, LLC is a Delaware limited

liability company with two members. The identity and citizenship for diversity purposes

of Poag & McEwen Lifestyle Centers – Centerra, LLC’s members are as follows:

         (1) Centerra & Dos Lagos Venture, LLC is a Delaware limited liability company

with one Member, Poag & McEwen Lifestyle Centers, LLC. As detailed in Paragraph 23,

above, Poag & McEwen Lifestyle Centers, LLC is a citizen of Utah, Tennessee,

Washington, Texas, and Ohio.

         (2) Opportunistic Real Estate Development, LLC is Delaware limited liability

company with five members.               The identity and citizenship for diversity purposes of

Opportunistic Real Estate Development, LLC’s members are as follows:

                      (a) Joshua D. Poag and Amy Poag are individuals who are domiciled in

and are citizens of the State of Tennessee;

                      (b) Chloee Poag is an individual who is domiciled in and a citizen of the

State of Tennessee;

                      (c) G. Dan Poag is an individual who is domiciled in and a citizen of the

State of Tennessee;

                      (d) Robert L. Rogers, Jr. is an individual who is domiciled in and a citizen

of the State of Tennessee;

                      (e) Terry McEwen is an individual who is domiciled in and a citizen of the
State of Utah.



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Therefore, for purposes of diversity jurisdiction, Opportunistic Real Estate Development,

LLC is a citizen of Tennessee and Utah.

          Based on the above, Poag & McEwen Lifestyle Centers – Centerra, LLC is a

citizen of Utah, Tennessee, Washington, Texas, and Ohio; therefore, Poag & McEwen

Lifestyle Centers – Centerra, LLC is diverse from Plaintiffs.

          28.         Despite being named by Plaintiffs as a Defendant, Poag & McEwen

Lifestyle Shopping Centers, LLC is not an existing entity. The proper name for this LLC

Defendant is PM Lifestyle Shopping Centers, LLC, which is a Delaware limited liability

company with one (1) member, Poag & McEwen Lifestyle Centers, LLC. As detailed in

Paragraph 23, above, for purposes of diversity jurisdiction, Poag & McEwen Lifestyle

Centers, LLC is a citizen of Utah, Tennessee, Washington, Texas, and Ohio.

Accordingly, PM Lifestyle Shopping Centers, LLC is a citizen of Utah, Tennessee,

Washington, Texas, and Ohio; therefore, PM Lifestyle Shopping Centers, LLC is diverse

from Plaintiffs.

          29.         Based on the above, each of the LLC Defendants is diverse from

Plaintiffs.

          30.         Requisite diversity jurisdiction exists if all parties on one side are of
citizenship diverse to that of all parties on the other side. See City of Indianapolis v.

Chase Nat. Bank of City of New York, 314 U.S. 63, 69 (1941). As detailed above, each

of the Defendants in this action is diverse to Plaintiffs; therefore, complete diversity

exists.

          31.         In addition to the necessary complete diversity, the amount in controversy

in this action exceeds the requisites of 28 U.S.C. § 1332(a). Plaintiffs’ Civil Cover Sheet

states that Plaintiffs are seeking a monetary judgement in excess of $100,000,
exclusive of interest and costs. Moreover, in the Prayer for Relief section of Plaintiffs’



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Complaint filed in the State Action, Plaintiffs are seeking as “[g]eneral damages” in the

amount of “$92,200,000” against the individual defendants and the defendant trustees.

These damages are in addition to other damages being sought by Plaintiffs in their

Complaint, including one and one-half times the value of assets allegedly fraudulently

transferred from the entity defendants to avoid payment of a judgment in the amount of

$42,006,032.50, exemplary damages, and attorneys’ fees and costs. It is ineluctable

that damages being sought by Plaintiffs, as pleaded by them, well exceed the

jurisdictional threshold for diversity of $75,000; therefore, this Court has diversity

jurisdiction pursuant to 28 U.S.C. § 1332.

         32.          Defendant PSC will promptly give notice of removal, as required by

28 U.S.C. § 1446(d), to the Clerk of the District Court of the County of Larimer,

Colorado, as well as to Plaintiffs’ counsel.

         33.          Pursuant to D.C.Colo.L.R. 81.1, a current docket sheet (register of

actions) from the State Action is attached hereto as Exhibit C. Defendant PSC certifies

that no hearing has been set in the State Action.

         WHEREFORE, Defendant Poag Shopping Centers, LLC requests that the Court

accept the State Action as properly removed from the District Court, County of Larimer,

Colorado.

         Dated: November 28, 2017.



                                              s/ Devin N. Visciano
                                              Frank W. Visciano
                                              Devin N. Visciano
                                              Senn Visciano Canges P.C.
                                              1700 Lincoln Street, #4300
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                                    Email: fvisciano@sennlaw.com;
                                    dvisciano@sennlaw.com
                                    Attorneys for Defendant Poag Shopping
                                    Centers, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 28, 2017, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and I hereby certify that I have
mailed or served the document or paper to the following non CM/ECF participants as
follows:

         Via certified mail, return receipt requested:

         David A. Robinson
         Enterprise Counsel Group, ALC
         Three Park Plaza, Suite 1400
         Irvine, CA 92614

         Via mail:

         Clerk of the Larimer County District Court
         201 La Porte Avenue
         Suite 100
         Ft. Collins, CO 80521


                                                    s/ Becky Guinn
                                                    Becky Guinn




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